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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


IN RE:                                               :          CASE NO. 21-54552-BEM
                                                     :
DAVID ESCOBEDO HIDALGO,                              :          CHAPTER 7
                                                     :
         Debtor.                                     :
                                                     :



 MOTION FOR ORDER AUTHORIZING SETTLEMENT UNDER RULE 9019 OF THE
            FEDERAL RULES OF BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of David Escobedo Hidalgo (“Debtor”), through undersigned counsel,

and files his Motion for Order Authorizing Settlement under Rule 9019 of the Federal Rules of

Bankruptcy Procedure (the “Settlement Motion”). In support of the Settlement Motion, Trustee

respectfully shows:

                                        Jurisdiction and Venue

         1.        This Bankruptcy Court has jurisdiction over this Settlement Motion under 28

U.S.C. §§ 157 and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and

1409. The statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). This Settlement Motion is a

core proceeding under 28 U.S.C. § 157(b)(2).

                                              Background

         2.        On June 15, 2021 (the “Petition Date”), Debtor filed a voluntary petition for relief

under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended,

modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy Court for the
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Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating Chapter 7 Case

No. 21-54552-BEM (the “Bankruptcy Case”).

       3.      On the Petition Date, Debtor solely owned that certain real property commonly

known as 114 Truman Court, Jackson, Georgia 30233-5044 (the “Property”).

       4.      On his Schedule D: Creditors Who Have Claims Secured by Property [Doc. No. 1,

page 22 of 62], Debtor scheduled one claim on or against the Property in the amount $114,447.00

in favor of Freedom Mortgage Corporation (“Freedom”).

       5.      Upon information and belief, the scheduled secured claim of Freedom relates to a

transfer of a security interest that Debtor made to Caliber Home Loans, Inc. (“Caliber”) through

a Security Deed dated November 4, 2016 (the “Security Deed”).

       6.      Debtor executed the Security Deed on or about November 4, 2016 in favor of

Caliber, conveying the Property to secure a debt in the original principal amount of $114,077.00

(the “First Transfer”).

       7.      The Security Deed was recorded in the real property records of the Superior Court

of Butts County, Georgia (the “Real Estate Records”) on November 9, 2016 (the “Second

Transfer” and together with the First Transfer, the “Transfers”) beginning at page 469 of Deed

Book 817.

       8.      The Security Deed has been assigned to Freedom via an assignment recorded in the

Real Estate Records on September 9, 2022 at pages 269-270 of Deed Book 978.

       9.      Trustee asserts that the execution of the Security Deed by Debtor was not attested

by an official witness as required by O.C.G.A. §§ 44-14-61 (2015) and that this defect in attestation

is apparent on the face of the Security Deed.

       10.     On September 14, 2021, Trustee filed a Complaint [Doc. No. 17; A.P. Doc. No. 1]

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against Caliber and Freedom, initiating Adversary Proceeding No. 21-5098-BEM (the “Adversary

Proceeding”), seeking to (a) avoid Debtor’s transfer of a purported security interest in the Property

to Caliber under 11 U.S.C. § 544(a)(3); (b) recover the property interest transferred to Caliber

through the avoided transfer, or its value, under 11 U.S.C. § 550; and (c) preserve the avoided

transfer for the benefit of the Bankruptcy Estate under O.C.G.A. § 551 (collectively, the

“Avoidance Issues”).

        11.    Caliber and Freedom contest Trustee’s claims related to the avoidability and

recoverability of the Transfers.

        12.    In October of 2022, Trustee sold the Property and netted the Bankruptcy Estate

approximately $193,000.00 from the sale (the “Net Sale Proceeds”). See [Doc. No. 36].

        13.    Trustee is holding the Net Sale Proceeds for the benefit of the Bankruptcy Estate.

                                    The Proposed Settlement

        14.    Following negotiations, Trustee, Caliber, and Freedom (collectively, the “Parties”)

reached an agreement to resolve the Avoidance Issues raised by Trustee, subject to Bankruptcy

Court approval. A copy of the Settlement Agreement is attached as Exhibit “A” to this Settlement

Motion and is incorporated herein by reference. Significant terms of the Settlement Agreement

follow: 1

                   a. Within 10 days of the Settlement Approval Order 2 becoming final, Trustee
                      shall pay to Freedom $125,047.00 from the Net Sale Proceeds (the “Trustee
                      Settlement Funds”) in one lump sum payment by delivering a check to
                      Freedom in the amount of $125,047.00.


1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement shall control.
2
       Capitalized terms not defined in this Settlement Motion shall have the meanings ascribed
to them in the Settlement Agreement.
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                   b. Within 10 days of the Settlement Approval Order becoming final, Freedom
                      shall pay to Trustee $17,500.00 (the “Freedom Settlement Funds”) in one
                      lump sum payment by delivering a check to Trustee in the amount of
                      $17,500.00.

                   c. The Parties stipulate and agree that Freedom and Caliber shall not have a
                      claim as an unsecured creditor in the Bankruptcy Case against the
                      Bankruptcy Estate for any reason, and that neither Freedom or Caliber, nor
                      any of their affiliates, agents, principals, or subsidiaries shall receive a
                      distribution from the Bankruptcy Estate as an unsecured creditor.

                   d. Within ten (10) business days of the later of: (a) the Settlement Approval
                      Order becoming a final order, (b) Trustee’s paying the Trustee Settlement
                      Funds to Freedom, or (c) Freedom’s paying the Freedom Settlement Funds
                      to Trustee; Trustee, Freedom, and Caliber shall file a stipulation dismissing
                      with prejudice the Adversary Proceeding.

                   e. The Parties grant one another broad and general releases.

                                          Relief Requested

       15.     By this Settlement Motion, Trustee requests that the Bankruptcy Court approve the

Settlement Agreement between the Parties.

                                           Basis for Relief

       16.     Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice Oaks

II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S. 959

(1990), in which the Eleventh Circuit stated as follows:

       When a bankruptcy court decides whether to approve or disapprove a proposed
       settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties, if
               any, to be encountered in the matter of collection; (c) the complexity
               of the litigation involved, and the expense, inconvenience and delay

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               necessarily attending it; (d) the paramount interest of the creditors
               and a proper deference to their reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960). 3

       17.     The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

       18.     Given the potential expense of litigating the claims raised by Trustee and the

contingent nature of the same, in the event that the claims that are proposed to be settled are instead

prosecuted, the amount of time that such litigation will require, the delay before the final outcome

is known (including the time necessary for any potential appeals), and the complexity and

uncertain resolution of factual and legal disputes, settlement on the terms described in the

Settlement Agreement is a proper exercise of the Trustee’s business judgment and in the best

interests of the Bankruptcy Estate. In fact, Trustee estimates that the proposed Settlement

Agreement puts the Bankruptcy Estate in approximately the same positon that it would be in if

Trustee were to litigate the Adversary Proceeding to a judgment (based on the unsecured claim




3
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the Eleventh
Circuit Court of Appeals adopted as binding precedent the decisions of the former Fifth Circuit
issued before October 1, 1981.
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that would arise under Section 502(h) and the resulting dilution of the unsecured pool of

claimants).

       19.     Trustee estimates that the proposed Settlement Agreement will allow him to make

a meaningful distribution to holders of timely filed general unsecured claims.

       20.     Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee requests that the Bankruptcy Court approve the Settlement Agreement.

       WHEREFORE, Trustee respectfully requests that the Bankruptcy Court enter an Order (i)

granting this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to

effectuate the terms of the Settlement Agreement; and (iii) granting to the parties such other and

further relief that the Court deems just and appropriate.

       Respectfully submitted, this 28th day of December, 2022.

                                              ROUNTREE LEITMAN KLEIN & GEER, LLC
                                              Attorneys for Trustee


                                              By:/s/ Michael J. Bargar
                                                 Michael J. Bargar
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                             EXHIBIT “A” FOLLOWS
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                                CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement under
Rule 9019 of the Federal Rules of Bankruptcy Procedure by first class United States mail on the
following persons or entities at the addresses stated:

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       This 28th day of December, 2022.
                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
